            Case 18-50350        Doc 30        Filed 08/14/19   EOD 08/14/19 14:15:10   Pg 1 of 2



                     IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                          SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


IN RE:

HUGH LAWRENCE BROOKS
TAMMIE SIMS-BROOKS                                              Case No. 09-02012

                Debtors.                                        Chapter 11


HUGH LAWRENCE BROOKS                                            Judge James M. Carr
TAMMIE SIMS-BROOKS
          Plaintiffs,                                           Adversary Proceeding
                                                                Case No. 18-50350
vs.

CORONADO STUDENT LOAN TRUST

                Defendant.



                                    AGREED CONSENT TO JUDGMENT



          NOW COMES, Plaintiffs Hugh Lawrence Brooks and Tammie Sims-Brooks (“the Plaintiffs”), and
Defendant, Coronado Student Loan Trust 2018-3 PSL SLX (“Coronado”), by and through its counsel
Weltman, Weinberg and Reis, Co, LPA, hereby agree as follows:


          The student loan debt, described as: Loan No. XXXXXX2494, due and owing by Plaintiff to
Coronado is discharged pursuant to 11 U.S.C.523 (a)(8) of the United States Bankruptcy Code. The loan is
identified as follows: A note originally to CIT Bank with an original principle balance of $100,001.00 and
disbursed on February 4th, 2008. The unpaid balance as of April of 2019 was $136,108.00 plus interest since
that time at the rate set forth in the Note.


         Coronado agrees and has no objection to discharge the student loan debt in the Adversary Proceeding
18-ap-50350 and underlying Bankruptcy Case # 09-02012 filed on February 26th, 2009 in the U.S.
Bankruptcy Court for the Southern District of Indiana.
          Case 18-50350        Doc 30    Filed 08/14/19     EOD 08/14/19 14:15:10         Pg 2 of 2


     Plaintiff and Coronado further agree that the full name of the Defendant is: Coronado Student Loan
   Trust 2018-3 PSL SLX.


               IT IS HEREBY AGREED that the Student Loan debts of Coronado are discharged. The loans
shall remain in place until such time as the Plaintiff’s complete the Chapter 11 plan and the Order of
Discharge has been granted by this Court. All in accordance with the confirmed plan.




Respectfully Submitted,



By: /s/ John Erin McCabe
John Erin McCabe
Attorney for Creditor
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